                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:04CV397-02-MU
                           (3:93CR133-2-P)

BRODERICK GRAVES,             )
     Petitioner,              )
                              )
       v.                     )                     ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on petitioner’s “Motion

To Vacate, Set Aside, Correct Sentence” under 28 U.S.C. §2255,

filed August 12, 2004.       For the reasons stated herein, the

petitioner’s Motion shall be dismissed as untimely filed.

              I.    FACTUAL AND PROCEDURAL BACKGROUND

     By the instant Motion to Vacate, counsel for the petitioner

represents that on July 14, 1993, a Bill of Indictment was filed,

charging the petitioner (and others) with one count of conspiracy

to possess with intent to distribute cocaine base.            Beginning

February 14, 1994, the Court conducted a trial during which the

petitioner took the stand and protested his innocence.             Never-

theless, at the conclusion of that trial, the jury returned a

guilty verdict against the petitioner.

     Accordingly, on May 16, 1994, the Court held a Sentencing




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Hearing for the petitioner.     On that occasion, the Court reviewed

the materials submitted by the U.S. Probation Office and the

arguments raised by trial counsel.      Thereafter, the Court

determined, inter alia, that the petitioner’s offense level was

subject to enhancements due to the role which he played in the

offense, and due to a finding that the petitioner had committed

perjury during his testimony.     Upon applying the subject enhance-

ments, the petitioner was sentenced to a term of life

imprisonment.

     Following his Sentencing Hearing, the petitioner timely

noted his appeal to the Fourth Circuit Court of Appeals.              On

appeal, the petitioner raised several claims, including that his

sentence was unconstitutional, and that the government’s proof

was materially different from the charge which was set forth in

the Indictment.   However, in an unpublished opinion the Court of

Appeals rejected all of the petitioner’s claims, and affirmed his

conviction and sentence.     See United States v. Graves, No. 94-

5541, slip op. at 4 (June 5, 1996).         The petitioner did not seek

any further direct review of his case.

     Rather, after allowing more than eight years to pass, the

petitioner has returned to this Court on the instant Motion to

Vacate his sentence.    By this Motion, newly retained habeas

counsel advances a number of claims: 1) that the petitioner’s

conviction and sentence were obtained in violation of the holding


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in United States v. Promise, 255 F.3d 150 (4th Cir. 2001)–-that

is, in violation of a decision which was rendered more than five

years after the petitioner’s conviction and sentence were

entered; 2) that the trial court’s jury instructions concerning

the conspiracy charge were erroneous because they relied upon the

holding from Pinkerton v. United States, 328 U.S. 640, 645

(1946); 3) that the petitioner’s life sentence constitutes cruel

and unusual punishment in violation of the Eighth Amendment; and

4) that the petitioner’s sentence was enhanced in violation of

the recent decision of Blakely v. Washington, ___ U.S. ___,                124

S.Ct. 2531 (2004).

     Furthermore, in acknowledgment of the fact that this Motion

was filed far beyond the 1-year limitations deadline, counsel for

the petitioner also asserts that this Motion should not be deemed

time-barred because application of the one-year limitations

period set forth in the Antiterrorism and Effective Death Penalty

Act of 1996 (the “AEDPA”) would constitute an unconstitutional

suspension of the Writ of Habeas Corpus.       While the undersigned

appreciates counsel’s great efforts to convince the Court that

the petitioner’s Motion is not time-barred, relevant legal

precedent makes it clear that the petitioner’s Motion has been

filed well outside of the 1-year statute of limitations imposed

under the “AEDPA”; and that such untimeliness cannot be excused.

Consequently, the petitioner’s Motion to Vacate must be dismissed


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as untimely filed.1

                               II.   ANALYSIS

      In 1996 Congress enacted AEDPA.         Among other things, the

AEDPA amended 28 U.S.C. §2255 by imposing a 1-year statute of

limitations period for the filing of a motion to vacate or

correct.    Such amendment provides:

      A 1-year period of limitation shall apply to a motion under

this section.     The limitation period shall run from the latest

of–

      (1) the date on which the judgment of conviction
      becomes final;

      (2) the date on which the impediment to making a motion
      created by governmental action in violation of the
      Constitution or laws of the United States is removed,
      if the movant was prevented from making a motion by
      such governmental action;

      (3) the date on which the right asserted was initially
      recognized by the Supreme Court and made retroactively
      applicable to cases on collateral review; or

      (4) the date on which the facts supporting the claim or
      claims presented could have been discovered through the
      exercise of due diligence.


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       In Hill v. Braxton, 277 F.3d 701, 706 (4 th Cir. 2002), the Fourth
Circuit stated that “when a federal habeas court, prior to trial, perceives a
pro-se [petition or Motion to Vacate] to be untimely and the state has not
filed a motion to dismiss based upon the one-year limitations period, the
[district] court must warn the petitioner that the case is subject to
dismissal . . . absent a sufficient explanation.” Therefore, after Hill this
Court routinely entered Orders allowing petitioners the opportunity to address
any timeliness concerns when their pleadings failed to conclusively demon-
strate timeliness and to set forth a sufficient explanation regarding those
matters.   Here, however, because Mr. Graves is represented by counsel who
clearly was both aware that the instant Motion was subject to dismissal as
untimely filed and, in fact, attempted to articulate a reason why this Motion
should be construed as timely filed, the Court found that no further notice
under Hill was required.

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     Here, the record makes clear, and counsel for the petitioner

does not deny, that the petitioner’s direct review was concluded

on June 5, 1996, when the Fourth Circuit Court of Appeals entered

an Order rejecting the petitioner’s appeal.        Therefore, the

petitioner’s conviction and sentence became final on or about

September 5, 1996-–that is, at the expiration of the 90-day

period during which the petitioner could have filed a Petition

for a Writ of Certiorari in the U.S. Supreme Court.           See Harris

v. Hutchinson, 209 F.3d 325, 328 (4th Cir. 2000) (noting that in

the absence of a petitioner for a writ of certiorari being filed,

the one-year limitation period begins ninety days after the

appellate court’s decision is rendered).

     Nevertheless, in an effort to demonstrate that the instant

Motion was timely filed, habeas counsel asserts that the one year

statute of limitations imposed under the AEDPA is unconstitution-

al because it is “prohibited by the Suspension Clause.”            However,

counsel has failed to cite a single case which has reached such a

conclusion.   Such omission is not surprising in light of the fact

that neither the U.S. Supreme Court nor the Fourth Circuit Court

of Appeals has reached the precise question of whether the

statute of limitations provision of the AEDPA unconstitutionally

suspends the Writ of Habeas Corpus.

     However, the United States Supreme Court has concluded that

the gatekeeping provisions of the AEDPA, which provisions limit a


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petitioner’s ability to bring successive challenges, do not

unconstitutionally suspend the Writ.        See Felker v. Turpin, 518

U.S. 651, 664 (1996).    Similarly, the Fourth Circuit Court of

Appeals has concluded that the provisions of the AEDPA, in

general, do not impermissibly limit federal courts’ power to

enforce federal law.    Mueller v. Angelone, 181 F.3d 557, 572-73

(4th C ir. 1999).   In both Felker and Mueller, the Courts made a

point of noting that the petitioners’ right to pursue habeas

corpus relief was not curtailed entirely-–as would be prohibited

by the Suspension Clause, but rather was limited in ways which

were not inconsistent with that Clause.

     Thus, in the instant case the Court concludes that the

AEDPA’s limitation on habeas filings does not violate the Suspen-

sion Clause--at least so far as this case is concerned.             This is

so because the petitioner’s right to bring a Motion to Vacate was

not altogether curtailed, but merely limited.          Indeed, had he

chosen to do so, the petitioner could have filed a Motion to

Vacate raising his claims that the jury instructions were

erroneous and his life sentence violates the Eighth Amendment

prior to the expiration of his 1-year limitations period.              More-

over, this Court cannot conclude that the AEDPA’s limitations

provision constitutes an unconstitutional suspension of the Writ

in this case simply because the petitioner cannot now avail

himself of the recent decisions announced in Blakely and Promise.


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Therefore, in light of his failure to have timely filed such

action, the petitioner’s Motion to Vacate must be dismissed as

time-barred.

                             III.   CONCLUSION

     The AEDPA requires, among other things, that Motions to

Vacate under 28 U.S.C. §2255 be brought within one year of the

event which triggers the commencement of the limitations period.

In the case at bar, the petitioner has filed his Motion to Vacate

far outside all conceivable limitations periods; therefore, his

Motion must be summarily dismissed as time barred.

                                IV.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the petitioner’s Motion to Vacate, filed August 12,

2004, is DISMISSED; and

     2.   That the Clerk shall send copies of this Order to the

petitioner, his attorney, and to the United States Attorney for

the Western District of North Carolina.

     SO ORDERED.




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                    Signed: June 13, 2005




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